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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MASSACHUSETTS


 COMMONWEALTH OF
 MASSACHUSETTS,
                                                           COMPLAINT Case No.
                                  Plaintiff,
                                                           1:23-cv-10819
              v.

 BRAYTON POINT LLC, PATRIOT
 STEVEDORING & LOGISTICS, LLC, and
 EASTERN METAL RECYCLING-
 TERMINAL, LLC,

                                  Defendants.




                                               INTRODUCTION

       1.          Brayton Point LLC (“Brayton Point”) owns an approximately 234-acre industrial

business area in Somerset, Massachusetts on Brayton Point Road, along Mount Hope Bay (the

“Brayton Point Industrial Property”). The Brayton Point Industrial Property is located on a

peninsula on Mount Hope Bay within 500 yards of a residential community. Patriot Stevedoring &

Logistics, LLC (“Patriot”) is the marine terminal operator at the Brayton Point Property. Between

August 2019 and March 21, 2022, Eastern Metal Recycling-Terminal, LLC (“EMR”) conducted a

scrap metal storage and loading operation on a portion of the Brayton Point Property. The scrap

metal operation ceased operating on March 21, 2022. The location of the scrap metal storage and

loading operation is referred to herein as the “Facility” and is depicted on Exhibit 1.
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        2.       Since August 2019, Defendants have violated the Federal Clean Water Act, 33

U.S.C. §§ 1251-1387, by discharging polluted industrial stormwater from the Facility into Mount

Hope Bay without complying with an industrial stormwater permit issued by the United States

Environmental Protection Agency (“EPA”).

        3.       Between August 2019 and March 21, 2022, and on a regular basis, Defendants

emitted visible plumes of dust and excessive noise from the Facility, disturbing the peace and

comfort of neighbors in the surrounding community, causing them in some cases to lose sleep,

change plans, stay indoors, and/or close their windows.

        4.       The dust traveled to the surrounding environment, including to a residential

community of Somerset to the north of the Facility (“Brayton Point Residential Neighborhood”), in

violation of the Federal Clean Air Act, 42 U.S.C. §§ 7401-7675, and the Massachusetts Air Act.

G.L. c. 111, §§ 142A-142O. Dust from the Facility constituted particulate matter (“PM”) and likely

contained heavy metals. Defendants’ dust emissions posed health risks to exposed individuals,

particularly those among at-risk populations, such as children.

        5.       The noise traveled to the surrounding environment, including into the Brayton Point

Residential Neighborhood, in violation of the Massachusetts Air Act.

        6.       The Commonwealth of Massachusetts (the “Commonwealth”) brings this civil suit

to enforce the requirements of the Federal Clean Water Act, the Federal Clean Air Act, and the

Massachusetts Air Act. The Commonwealth seeks injunctive relief for Defendants’ Clean Water

Act violations, civil penalties for the state and federal clean air act violations, and other relief the

Court deems appropriate to redress Defendants’ illegal actions, including their unlawful emissions

and discharges of pollution.



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                                       JURISDICTION AND VENUE

        7.       This Court has subject matter jurisdiction over the parties and the subject matter of

this action pursuant to Section 505(a)(1)(A) of the Federal Clean Water Act, 33 U.S.C.

§ 1365(a)(1)(A), Section 304(a) of the Federal Clean Air Act, 42 U.S.C. § 7604(a), 28 U.S.C.

§ 1331 (an action arising under the laws of the United States), and 28 U.S.C. § 1367 (supplemental

jurisdiction over related state claims).

        8.       On May 11, 2021, plaintiff provided notice of Defendants’ violations of the Federal

Clean Water Act and the Federal Clean Air Act, and of its intention to file suit against Defendants

(the “Notice Letter”), to the Administrator of EPA; the Administrator of EPA Region 1; the

Commissioner of the Massachusetts Department of Environmental Protection (“MassDEP”); and

to Defendants, as required by Section 505(b)(1)(A) of the Federal Clean Water Act, 33 U.S.C.

§ 1365(b)(1)(A) and Section 304(b)(1)(A) of the Federal Clean Air Act, 42 U.S.C.

§ 7604(b)(1)(A). On August 25, 2021, plaintiff mailed a copy of the Notice Letter to the Governor

of Massachusetts.

        9.       More than sixty days have passed since notice was served.

        10.      This action is not barred by any prior state or federal action to enforce the violations

alleged in this complaint.

        11.      The Commonwealth has an interest in protecting for its residents the integrity of the

Massachusetts environment, and the related health, safety, economic, recreational, aesthetic, and

environmental interest that the environment provides. The interests of the Commonwealth have

been, are being, and will continue to be adversely affected by Defendants’ failure to comply with

environmental laws, as alleged herein. The relief sought herein will redress the harms to the



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Commonwealth caused by Defendants’ activities. The acts and omissions alleged will irreparably

harm the Commonwealth, for which harm it has no plain, speedy, or adequate remedy at law.

        12.      Venue is proper in the District Court of Massachusetts pursuant to Section

505(c)(1) of the Federal Clean Water Act, 33 U.S.C. § 1365(c)(1), and Section 304(c)(1) of the

Federal Clean Air Act, 42 U.S.C. § 7604(c)(1), because the source of the violations is located

within this judicial district.

                                                 PARTIES

        13.      Plaintiff is the Commonwealth appearing by and through the Attorney General.

        14.      The Attorney General is the chief law officer of the Commonwealth, with offices at

One Ashburton Place, Boston, Massachusetts. She is authorized to bring this action and to seek the

relief requested herein, under G.L. c. 12, §§ 3 and 11D.

        15.      Defendant Brayton Point LLC is a foreign limited liability company incorporated in

Missouri. Brayton Point LLC owns the site of the scrap metal facility and water transportation

facility that was operated by Eastern Metal Recycling-Terminal, LLC and Patriot Stevedoring &

Logistics, LLC between August 2019 and March 21, 2022.

        16.      Defendant Eastern Metal Recyling-Terminal, LLC is a Delaware limited liability

company headquartered in New Jersey. EMR operated a scrap metal facility in Somerset,

Massachusetts from August 2019 to March 21, 2022.

        17.      Defendant Patriot Stevedoring & Logistics, LLC is a domestic limited liability

company that handles marine terminal loading at the Brayton Point Property in Somerset,

Massachusetts.




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                                    STATUTORY BACKGROUND

                                Federal Clean Water Act Requirements

       18.     The Federal Clean Water Act makes the discharge of pollution into waters of the

United States unlawful unless the discharge is in compliance with certain statutory requirements,

including the requirement that the discharge be permitted by EPA under the National Pollutant

Discharge Elimination System (“NPDES”) program. See Sections 301(a), 402(a), and 402(p) of the

Federal Clean Water Act; 33 U.S.C. §§ 1311(a), 1342(a), 1342(p).

       19.     Polluted stormwater is the leading cause of water quality impairment in

Massachusetts. During every rain or snowmelt event, runoff flows over the land surface, picking

up potential pollutants such as sediment, nutrients, heavy metals, and petroleum by-products.

Polluted stormwater runoff can be harmful to plants, animals, and people.

       20.     In order to minimize polluted stormwater discharges from industrial facilities, EPA

has issued a general industrial stormwater permit (“Stormwater Permit”) under the NPDES

program. EPA first issued the Stormwater Permit in 1995 and reissued the permit in 2000, 2008,

2015, and 2021. See 60 Fed. Reg. 50804 (Sept. 29, 1995); 65 Fed. Reg. 64746 (Oct. 30, 2000); 73

Fed. Reg. 56572 (Sept. 29, 2008); 86 Fed. Reg. 10269 (Feb. 19, 2021). 1

       21.     Owners and operators of scrap recycling and water transportation facilities like the

Facility are subject to the requirements of this Stormwater Permit. Stormwater Permit, Appendix

D, pg. D-4.



1
  The February 2021 revision of the Stormwater Permit (“2021 Stormwater Permit”) is
substantially similar to the 2015 version (“2015 Stormwater Permit”). Where there is a difference
in citations due to numbering, this Complaint provides citations to each of the revisions. Where
there is no difference in section numbering, this Complaint refers to the two versions jointly as
“Stormwater Permit.”

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22.   The Stormwater Permit requires the Facility to, among other things:

      a. submit a “complete and accurate Notice of Intent” for the Facility that lists all

         stormwater outfalls by a unique 3-digit code and corresponding latitude and

         longitude coordinates (Stormwater Permit Appendix G; 2015 Stormwater

         Permit section 1.2.1; 2021 Stormwater Permit section 1.3);

      b. prepare a Stormwater Pollution Prevention Plan (“SWPPP”) for the Facility that

         includes, among other things:

             1) an adequate site description that includes the locations of all stormwater

                 outfalls, the locations of all stormwater conveyances, a site map with the

                 boundaries of industrial activity at the Facility, a description of the

                 nature of the industrial activities at the Facility, and the location of

                 potential pollutant sources. (2015 Stormwater Permit section 5.2.3; 2021

                 Stormwater Permit section 6.2.2);

             2) a description of monitoring procedures including locations where

                 samples are collected, procedures for collection, and parameters for

                 sampling (2015 Stormwater Permit section 5.2.5.3; 2021 Stormwater

                 Permit section 6.2.5.3);

             3) a description of control measures to meet techology-based and water

                 quality-based effluent limitations (2015 Stormwater Permit section

                 5.2.4; 2021 Stormwater Permit section 6.2.4);

             4) a description of how and why the chosen control measures were selected

                 (2015 Stormwater Permit section 5.2.4; 2021 Stormwater Permit section

                 6.2.4);

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           5) a description of the schedule of maintenance and goodhouskeeping

               measures used to comply with effluent limits (2015 Stormwater Permit

               section 5.2.5.1; 2021 Stormwater Permit section 6.2.5.1); and

           6) an evaluation of unauthorized non-stormwater discharges (2015

               Stormwater Permit section 5.2.3.4; 2021 Stormwater Permit section

               6.2.3);

    c. select, design, install, and implement pollutant control measures that reduce

       and/or eliminate pollutants to the extent achievable using control measures

       (including best management practices) that are technologically available and

       economically practicable and achievable in light of best industry practice

       (Stormwater Permit section 2);

    d. minimize contact of stormwater runoff with industrial materials, including scrap

       metal materials, and equipment (Stormwater Permit section 8.N.3.1.2);

    e. keep clean all exposed areas that are potential sources of pollutants by storing

       materials in appropriate containers, properly controlling runoff associated with

       dumpsters, and keeping exposed areas free of waste, garbage and floatable

       debris (Stormwater Permit section 2.1.2.2);

    f. minimize generation of dust and off-site tracking of industrial materials,

       including scrap metal materials, in order to minimize pollutant discharges

       (Stormwater Permit section 2.1.2.10);

    g. monitor stormwater discharges from all outfalls for compliance with

       benchmarks applicable to scrap metal recycling and water transportation



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                   facilities (2015 Stormwater Permit sections 6.2.1, 8.N.6, and 8.Q.6; 2021

                   Stormwater Permit sections 4.2.2, 8.N.7, and 8.Q.7); and

               h. report all benchmark monitoring data to EPA within mandatory deadlines (2021

                   Stormwater Permit section 7.4; 2021 Stormwater Permit section 7.3).

       23.     Discharges of stormwater that are mixed with non-stormwater discharges, other

than those mixed with allowable non-stormwater discharges that are listed in the Stormwater

Permit, are not eligible for coverage under the Stormwater Permit. 2015 Stormwater Permit section

1.1.4.1; 2021 Stormwater Permit section 1.1.3.1.

       24.     Section 505(a)(1) and Section 505(f) of the Federal Clean Water Act provide for

citizen enforcement actions against any “person,” including individuals, corporations, or

partnerships, for violations of NPDES permit requirements and for unpermitted discharges of

pollutants. 33 U.S.C. §§ 1365(a)(1) and (f), § 1362(5).

       25.     The Commonwealth is entitled to bring suit under Section 505 of the Federal Clean

Water Act, because it is a “person” having an interest which is or may be adversely affected. See

Section 505(g); 33 U.S.C. § 1365(g).

       26.     Under Section 505 of the Clean Water Act, this Court has authority to enjoin

Defendants’ violations of the Stormwater Permit, and to impose penalties of up $64,618 per day

for each of the company’s prior violations. See 33 U.S.C. §§ 1365(a), 1319(d); 40 C.F.R. § 19.4;

88 Fed. Reg. 989 (Jan. 6, 2023).




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                                  Federal Clean Air Act Requirements

       27.     The Federal Clean Air Act sets out a comprehensive regulatory scheme designed to

prevent and control air pollution. Congress passed the Clean Air Act to prevent air pollution and to

protect and enhance the quality of the Nation's air resources so as to promote the public health and

welfare. Section 101 of the Clean Air Act, 42 U.S.C. § 7401.

       28.     EPA has established National Ambient Air Quality Standards (“NAAQS”) for a

number of “criteria pollutants,” such as particulate matter. Section 109 of the Federal Clean Air

Act, 42 U.S.C. § 7409; 40 C.F.R. pt. 50. An area that meets the NAAQS for a particular criteria

pollutant is deemed to be in “attainment” for that pollutant. Section 107 of the Federal Clean Air

Act, 42 U.S.C. § 7407(d)(1). An area that does not meet the NAAQS is a “nonattainment” area. Id.

       29.     Each state is required to develop a “state implementation plan” (“SIP”) to achieve

the NAAQS established by EPA. Section 110 of the Federal Clean Air Act, 42 U.S.C. § 7410(a).

Specifically, SIPs set forth requirements for permitting programs and specific emission standards

and limitations to assure that geographic areas either remain in attainment or regain attainment

status. Once a state’s SIP is approved by EPA, it is published in the Code of Federal Regulations

and becomes enforceable federal law. Section 113 of the Federal Clean Air Act, 42 U.S.C. § 7413;

40 C.F.R § 52.23.

       30.     Certain Massachusetts air pollution regulations designed to achieve and maintain

attainment with the NAAQS have been approved by EPA and incorporated into the Massachusetts

SIP and are therefore enforceable under the Federal Clean Air Act. These regulations include

provisions regulating emissions of dust.

       31.     Any person may commence a civil enforcement action under the Federal Clean Air

Act against any party “who is alleged to have violated … or to be in violation of [] an emission

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standard or limitation.” Section 304 of the Federal Clean Air Act, 42 U.S.C. § 7604(a). An

“emission standard or limitation” is, among other things, any standard or limitation under any

approved State Implementation Plan. Id., § 7604(f)(4).

       32.     The Commonwealth is entitled to bring suit under Section 304 of the Federal Clean

Air Act because it is a “person” as defined by Section 302(e), 42 U.S.C. § 7602(e).

       33.     This Court has authority to enjoin Defendants’ violations of the Federal Clean Air

Act, and to impose penalties of up to $117,468 per day for each violation of the Federal Clean Air

Act pursuant to Sections 113(b) and 304(a), 42 U.S.C. §§ 7413(b), 7604(a). See also 40 CFR

§ 19.4, and 88 Fed. Reg. 989 (Jan. 6, 2023).

                                   State Environmental Requirements

                                           Massachusetts Air Act

       34.     The Massachusetts Air Act is intended to protect the atmosphere from pollution and

contamination. See G.L. c. 111, §§ 142A-142O.

       35.     Pursuant to G.L. c. 111, § 142A, MassDEP has promulgated regulations that are

designed to prevent pollution or contamination of the atmosphere.

       36.     Pursuant to its authority under the Massachusetts Air Act, MassDEP adopted air

pollution control regulations at 310 C.M.R §§ 7.00 – 7.76 (“Massachusetts Air Regulations”) “to

prevent the occurrence of conditions of air pollution where such do not exist and to facilitate the

abatement of conditions of air pollution where and when such occur.” These regulations are

designed to attain, preserve, and conserve the highest possible quality of the ambient air

compatible with needs of society.” 310 C.M.R. § 7.00 (preamble).

       37.     The Massachusetts Air Regulations provide that “[n]o person having control of any

dust … generating operations …” shall permit emissions therefrom which cause or contribute to a

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condition of air pollution. 310 C.M.R. § 7.09(1). They also provide that “[n]o person shall cause,

suffer, allow, or permit the handling, transportation, or storage of any material in a manner that

results or may result in emissions therefrom which cause or contribute to a condition of air

pollution.” 310 C.M.R. § 7.09(4). The Massachusetts Air Regulations at 310 C.M.R. § 7.01(1)

state: “No person owning, leasing, or controlling the operation of any air contamination source

shall willfully, negligently, or through failure to provide necessary equipment or to take necessary

precautions, permit any emission from said air contamination source or sources of such quantities

of air contaminants which will cause, by themselves or in conjunction with other air contaminants,

a condition of air pollution.”

        38.     “Air pollution” is defined by the Massachusetts Air Regulations to mean “the

presence in the ambient air space of one or more air contaminants or combinations thereof in such

concentrations and of such duration as to (a) cause a nuisance; (b) be injurious, or be on the basis

of current information, potentially injurious to human or animal life, to vegetation, or to property;

or (c) unreasonably interfere with the comfortable enjoyment of life and property or the conduct of

business.” 310 C.M.R. § 7.00.

        39.     The Massachusetts Air Regulations provide that “No person owning, leasing or

controlling a source of sound shall willfully, negligently, or through failure to provide necessary

equipment, service or maintenance or to take necessary precautions cause, suffer, allow, or permit

unnecessary emissions from said source of sound that may cause noise.” 310 C.M.R. § 7.10(1).

        40.     General Laws c. 111, §§ 142A and 142B state that a person who violates the

Massachusetts Air Act or the Massachusetts Air Regulations is liable for civil penalties of up to

$25,000 per day per violation and authorize this Court to enjoin further violations.



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       41.     The Attorney General has authority to enforce the Massachusetts Air Act and the

Massachusetts Air Regulations pursuant to state law. See G.L. c. 12, §§ 3 and 11D.

                                        STATEMENT OF FACTS

                                      Description of the Defendants

       42.     Defendant Brayton Point LLC, an affiliate of developer Commercial Development

Company, Inc., purchased the entirety of the Brayton Point property in December 2018.

       43.     Defendant Patriot is a Massachusetts corporation that performs stevedoring services

at the Facility. Stevedoring is the process of loading or offloading cargo to and from a ship.

       44.     Defendant EMR recycles 10 million tons of material annually and operates at least

40 scrap metal facilities across 11 states in the United States and more than 130 facilities globally.

EMR has a United States headquarters in New Jersey and global headquarters in Warrington,

United Kingdom.

                                         Description of the Facility

       45.     Defendants EMR and Patriot together operated a scrap metal transportation

operation on approximately 9 acres on a peninsula in Mount Hope Bay. The property was leased to

the companies by Defendant Brayton Point LLC. The operation began in August of 2019 and

terminated on March 21, 2022.

       46.     During the time the scrap yard was operating, Defendants stored, moved, and

transported ferrous and non-ferrous scrap metal at the Facility. The scrap metal consisted of large

and small pieces (“Scrap Metal Materials”), and included small particles, or dust.

       47.     Defendant EMR transported and delivered approximately 50 truckloads of Scrap

Metal Materials to the Facility per day while the Facility was in operation.



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        48.     Scrap Metal Materials were stockpiled at the Facility and stored outside in large,

uncovered piles.

        49.     EMR dropped truckloads of Scrap Metal Material onto the ground at the Facility.

Patriot picked up and moved Scrap Metal Materials around the Facility and dropped them onto the

ground and into piles using trucks and other heavy equipment (“Heavy Equipment”).

        50.     Defendant Patriot moved the Scrap Metal Materials around the Facility and loaded

it onto ships using Heavy Equipment.

        51.     The loading of each ship took between four and five days. While the ship was

docked at the Facility, loading took place 24 hours a day. During loading, Scrap Metal Materials

were picked up and dropped into metal containers and equipment, creating additional dust

emissions and loud noises.

        52.     Defendants and persons that visited the Facility in the ordinary course of business

scattered Scrap Metal Materials around the Facility, including on its ground surface.

        53.     When Scrap Metal Materials were moved to, around, and from the Facility by

trucks and Heavy Equipment, the materials were dropped onto the ground and some of the Scrap

Metal Materials mixed with other materials on the ground.

                                Defendants’ Clean Water Act Violations

                                 Description of Stormwater at the Facility

        54.     During every rain or snowmelt event, runoff from the rain or snowmelt

(“stormwater”) flows over the ground surface at the Facility where Scrap Metal Materials and

equipment were previously located and picks up pollutants, including heavy metals, from the

Facility.



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       55.        Much of the polluted stormwater at the Facility flows to a basin at the southwest

corner of the Facility. Defendants pump stormwater from this basin into Mount Hope Bay.

       56.        During significant storm events, stormwater accumulates at the north end of the

Facility and passes through a pervious barrier directly into Mount Hope Bay. The following image

annotated by the Attorney General’s Office shows the direction of flow of polluted industrial

stormwater through the pervious barrier at this location.




       57.        Dust from the Facility is also picked up by the wind and discharged to Mount Hope

Bay.

             Potential Impacts from Pollutants in Stormwater Discharges from the Facility

       58.        The Facility’s stormwater discharges likely contain a myriad of pollutants including

lead, zinc, aluminum, iron, copper, organic matter (as indicated by measurements of chemical

oxygen demand or COD), and suspended solids (as indicated by measurements of total suspended

solids or TSS).



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        59.    Excessive heavy metals in runoff pose a threat to aquatic ecosystems, the food

chain, and human health. Once introduced into the aquatic environment, lead and other heavy

metals such as zinc, aluminum, iron, and copper will mix in the water column, settle into

sediments, or be consumed by biota. Heavy metals are readily dissolved in water, making them

easily absorbed by aquatic organisms such as fish and invertebrates. Lead is particularly toxic to

organisms even at very low concentrations. Excessive levels of heavy metals in the aquatic

environment can disturb organisms’ growth, metabolism, and reproduction. The presence of heavy

metals in bottom-sediment is an ongoing source of aquatic contamination because the metals will

be slowly released into the environment over time and will become re-mobilized in times of

flooding or other disruptive events. Heavy metals tend to bioaccumulate, posing a threat to species

higher up on the food chain, such as humans.

        60.    COD is a measurement of organic matter in water. Excessive discharges of organic

matter pose a risk of harm to water quality and aquatic life. When high levels of organic matter are

discharged to a waterbody, the presence of bacteria, fungi, and other decomposer organisms

increases. The presence of decomposer organisms and the decomposition process lowers the

available oxygen in the water, impairing other aquatic organisms or, in severe cases, asphyxiating

them.

        61.    TSS is an indicator parameter that measures the presence of solids, or sediment,

suspended in a water sample. Solids in scrap yard stormwater discharges are likely to include non-

dissolved metal particles and contaminated soil. Even uncontaminated sediment destroys habitat,

harms aquatic organisms, and can contribute to flooding. Sediment settles to the bottom of a river

where it disrupts and smothers bottom feeding organisms. Sediment becomes suspended in water,

where it harms and kills fish by clogging their gills, making it harder for them to breathe.

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Excessive sedimentation harms the entire food chain by destroying habitat and killing the smaller

organisms on which larger ones depend.

       62.     Mount Hope Bay is a state-listed impaired tidal estuary located at the mouth of the

Taunton River on the Massachusetts and Rhode Island border. Mount Hope Bay has played an

important role in the history of the area, from pre-colonial times to the present. While many years

of sewage and industrial pollution have severely degraded the quality of the shallow waters of the

bay, major efforts to clean it up and restore it have been implemented and are under way. The

Commonwealth has designated the portion of the Taunton River that is tidally connected the

Mount Hope Bay to be “Core Habitat” critical to the long-term persistence of over a dozen species,

including the state and federally endangered Atlantic Sturgeon.

              Defendants’ Inadequate Implementation of EPA’s Stormwater Requirements

       63.     On or around May 12, 2020, EMR submitted a Notice of Intent (“NOI”) to EPA to

be covered by the Stormwater Permit. Patriot submitted a separate NOI to EPA on or around

October 30, 2019. These NOIs identified one outfall located in the vicinity of the pond on the south

side of the Facility (“Designated Outfall”). These NOIs failed to identify all stormwater outfalls at

the Facility. For example, neither NOI identified the location at the north end of the Facility where

stormwater passes through a pervious barrier during heavy rain events.

       64.     Patriot prepared a separate SWPPP in April 2020 (the “Patriot SWPPP”). EMR

prepared a SWPPP for the Facility in November 2020 (the “EMR SWPPP”).

       65.     EMR and Patriot did not identify the location of all stormwater discharge points in

their respective SWPPPs. Neither the EMR nor Patriot SWPPP identified or described the way

stormwater is discharged from the pond at the southwest corner of the Facility or identified or



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described the location at the north end of the Facility where stormwater passes through a pervious

barrier during heavy rain events as an outfall.

        66.        Neither the EMR nor Patriot SWPPP identified the location of all stormwater

conveyances. Neither SWPPP identified or described the way stormwater is pumped around and

off the Facility

        67.        Neither the EMR nor Patriot SWPPP accurately described the boundaries of where

industrial activity occurred at the Facility. Both SWPPPs omitted a description or depiction of

industrial activities that occurred on the northeast side of the Facility. The following image

annotated by the Attorney General’s Office shows the area omitted from the descriptions of

industrial activities occurring at the Facility.




        68.        Neither the EMR nor Patriot SWPPP described or documented the locations where

stormwater benchmark monitoring samples are collected at the Facility.




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        69.     Neither the EMR nor Patriot SWPPP described the procedures for collection of

sampling.

        70.     Neither the EMR nor Patriot SWPPP showed how Defendants minimized pollutants

to the extent achievable using control measures that are technologically available and economically

practicable and achievable in light of best industry practices. For example, neither SWPPP

described any maintenance or cleaning of the pond at the southwest corner of the Facility, or the

manner in which stormwater is discharged from the pond. There was reference in the EMR

SWPPP to an “oil and water separator” in the vicinity of the pond, but the oil water separator was

not depicted on the site plan and was not described elsewhere in either SWPPP.

        71.     Neither the EMR nor Patriot SWPPP described how and why any chosen control

measures were selected.

        72.     Neither the EMR nor Patriot SWPPP described a schedule of maintenance and

good housekeeping measures used to minimize pollutant discharges.

        73.     Neither the EMR nor Patriot SWPPP adequately described the process by which

Defendants evaluated whether there were any unauthorized non-stormwater discharges from the

Facility.

        74.     Defendants did not select, design, install, and implement pollutant control measures

that reduce and/or eliminate pollutants to the extent achievable using control measures (including

best management practices) that are technologically available and economically practicable and

achievable in light of best industry practice. Because Defendants did not adequately analyze

pollutant sources or pollutants in stormwater from the Facility, they did not know what control

measures were appropriate to minimize pollutant discharges.



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       75.      Defendants failed to minimize contact of stormwater runoff with industrial

materials and equipment.

       76.      Defendants did not keep clean all exposed areas that were potential sources of

pollutants by storing materials in appropriate containers, properly controlling runoff associated

with dumpsters, and keeping exposed areas free of waste, garbage, and floatable debris.

       77.      Defendants did not minimize generation of dust and off-site tracking of Scrap Metal

Materials in order to minimize pollutant discharges.

       78.      Defendants failed to monitor and control stormwater discharged during significant

storm events from the northeast portion of the Facility.

       79.      Defendants failed to monitor from the Designated Outfall during the third Quarter

of 2020 and reported that the Facility had no discharge during that quarter even though Defendants

pumped some of the contents of the pond into Mount Hope Bay from the Designated Outfall on

July 2, 2020.

       80.      Defendants’ monitoring reports to EPA for the first quarter of 2020 were

incomplete. They failed to include measurements for copper, zinc, TSS, and COD.

       81.      Defendants’ stormwater mixed with dust suppression water sprayed on Scrap Metal

Materials. Dust suppression water is not an authorized non-stormwater discharge that can be

covered under the Stormwater Permit.

                Defendants’ Discharges of Excessive Dust Emissions into the Atmosphere

       82.      Defendants’ operations resulted in the emission of excessive amounts of dust – also

known as PM – into the atmosphere in the vicinity of the Facility.

       83.      Defendants caused these dust emissions by storing Scrap Metal Materials outside

where the dust was mobilized by the wind, by moving Scrap Metal Materials around the Facility

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by trucks and Heavy Equipment, by driving motor vehicles, trucks, and Heavy Equipment over the

ground surface at the Facility, and by loading Scrap Metal Material into ships.

       84.     Defendants occasionally sprayed dust suppression water at some locations at the

Facility. Defendants’ spraying of dust suppression water was inadequate to control excessive dust

emissions from the Facility.

       85.     On March 15, 2021, and April 22, 2021, Defendants caused excessive dust emissions

to be released into the atmosphere in the vicinity of the Facility. Below are two photographs

illustrating conditions at the Facility as they appeared from the east looking west on March 15, 2021

and April 22, 2021.

                                             March 15, 2021:




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                                               April 22, 2021:




       86.     Exposure to PM has been linked to a variety of health problems, including

premature death in people with heart or lung disease, nonfatal heart attacks, irregular heartbeat,

aggravated asthma, decreased lung function, and increased respiratory symptoms, such as irritation

of the airways, coughing, or difficulty breathing.

       87.     Dust from Defendants’ scrap metal recycling activities likely contained heavy

metals including but not limited to zinc, aluminum, iron, copper, lead, cadmium, and chromium.

       88.     PM emitted from the Facility became suspended in the air in and around the

Facility, including in the ambient air within the Brayton Point Residential Neighborhood.

       89.     Members of the Brayton Point Residential Neighborhood complained that dust

from the Facility landed on their homes, windows, plants, cars, and other property.

       90.     Members of the Brayton Point Residential Neighborhood complained that they

experienced eye irritation, throat irritation, increased asthma, and additional need for medical care

because of the dust emissions.



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       91.      As a result of the Defendants’ activities, nearby residents, including people living in

the Brayton Point Residential Neighborhood, were exposed to potential harms associated with

inhalation of PM and heavy metals.

                       Defendants’ Emissions of Excessive Noise from the Facility

       92.      Since it began operating in August 2019 until the scrap metal operations ceased on

March 21, 2022, the Facility emitted loud noises that disrupted the peace and comfort of nearby

residents and interfered with nearby residents’ ability to enjoy their lives and properties, including

their ability to sleep. Loud noises occured when Scrap Metal Materials were brought to the Facility

by trucks, moved around the Facility by Heavy Equipment, and loaded onto ships with Heavy

Equipment.

       93.      Defendants emitted loud noises from the Facility all day every Monday through

Friday from 7:30 a.m. to 5:30 p.m. When Defendants were loading a ship at the Facility, the noises

continued 24-hours a day until the ship left. Loading took place on average every five weeks and

continued for approximately 4 days.

       94.      The noises consisted of loud and almost constant banging and scraping of metal

against metal. The noises could sound like thunder when ships were being loaded. Noises carried

over the water between surrounding neighborhoods and the Facility. These sounds were even more

disruptive during the warm weather months, when residents would have liked to have their

windows open.

       95.      The loud noises emitted by Defendants caused nearby residents to change their

plans, close their windows, and lose sleep. Children who live near the Facility complained that the

lack of sleep and disruption caused by the noise and dust emissions interfered with their ability to

perform well in school and otherwise enjoy their activities.

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                                        FIRST CAUSE OF ACTION
                            Noncompliance with the Federal Stormwater Permit:
              Violations of Section 301(a) of the Federal Clean Water Act, 33 U.S.C. § 1311(a)

        96.       The Commonwealth realleges and incorporates by reference the allegations

contained in the above paragraphs.

        97.       Defendants are “persons” within the meaning of Section 502(5) of the Clean Water

Act, 33 U.S.C. § 1362(5).

        98.       Mount Hope Bay is a “navigable water” within the meaning of Section 502(7) of

the Clean Water Act, 33 U.S.C. § 1362(7).

        99.       Since at the latest August 1, 2019, Defendants have violated the Stormwater Permit

by failing to:

                  a.   submit a “complete and accurate Notice of Intent” for the Facility that lists all

                       stormwater outfalls by a unique 3-digit code and corresponding latitude and

                       longitude coordinates (Stormwater Permit Appendix G; 2015 Stormwater

                       Permit section 1.2.1; 2021 Stormwater Permit section 1.3);

                  b.   prepare a Stormwater Pollution Prevention Plan (“SWPPP”) for the Facility

                       that includes, among other things:

                        i.    an adequate site description that includes the locations of all

                              stormwater outfalls, the locations of all stormwater conveyances, a site

                              map with the boundaries of industrial activity at the Facility, a

                              description of the nature of the industrial activities at the Facility, and

                              the location of potential pollutant sources (2015 Stormwater Permit

                              section 5.2.3; 2021 Stormwater Permit section 6.2.2);



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          ii.   a description of monitoring procedures including locations where

                samples are collected, procedures for collection, and parameters for

                sampling (2015 Stormwater Permit section 5.2.5.3; 2021 Stormwater

                Permit section 6.2.5.3);

         iii.   a description of control measures to meet techology-based and water

                quality-based effluent limitations. (2015 Stormwater Permit section

                5.2.4; 2021 Stormwater Permit section 6.2.4.);

         iv.    a description of how and why the chosen control measures were

                selected (2015 Stormwater Permit section 5.2.4; 2021 Stormwater

                Permit section 6.2.4);

          v.    a description of the schedule of maintenance and good housekeeping

                measures used to comply with effluent limits (2015 Stormwater Permit

                section 5.2.5.1; 2021 Stormwater Permit section 6.2.5.1); and

         vi.    an evaluation of unauthorized non-stormwater discharges (2015

                Stormwater Permit section 5.2.3.4; 2021 Stormwater Permit section

                6.2.3);

    c.   select, design, install, and implement pollutant control measures that reduce

         and/or eliminate pollutants to the extent achievable using control measures

         (including best management practices) that are technologically available and

         economically practicable and achievable in light of best industry practice

         (Stormwater Permit section 2);

    d.   minimize contact of stormwater runoff with industrial materials and equipment

         (Stormwater Permit section 8.N.3.1.2);

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               e.   keep clean all exposed areas that are potential sources of pollutants by storing

                    materials in appropriate containers, properly controlling runoff associated with

                    dumpsters, and keeping exposed areas free of waste, garbage and floatable

                    debris (Stormwater Permit section 2.1.2.2);

               f.   minimize generation of dust and off-site tracking of industrial materials in

                    order to minimize pollutant discharges (Stormwater Permit section 2.1.2.10);

               g.   monitor stormwater discharges from all outfalls for compliance with

                    benchmarks applicable to scrap metal recycling and water transportation

                    facilities (2015 Stormwater Permit sections 6.2.1, 8.N.6, and 8.Q.6; 2021

                    Stormwater Permit sections 4.2.2, 8.N.7, and 8.Q.7);

               h.   report all benchmark monitoring data to EPA within mandatory deadlines

                    (2021 Stormwater Permit section 7.4; 2021 Stormwater Permit section 7.3);

                    and

               i.   prevent or eliminate unpermitted discharges of non-stormwater from the

                    Facility (2015 Stormwater Permit section 1.1.4.1; 2021 Stormwater Permit

                    section 1.1.3.1).

       100.    Each of Defendants’ violations of each of the requirements of the Stormwater

Permit is a separate and distinct violation of Section 301(a) of the Act, 33 U.S.C. § 1311(a), for

each day on which the violation occurred and/or continued. See also Section 505(a)(1) and (f), 33

U.S.C. §§ 1365(a)(1) and (f).

       101.    These violations establish an ongoing pattern of failure to comply with the

Stormwater Permit’s requirements.



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                                    SECOND CAUSE OF ACTION
                                Violations of the Federal Clean Air Act:
              SIP Violations - Causing or Contributing to a Condition of Air Pollution
            Violations of Section 304(a) of the Federal Clean Air Act, 42 U.S.C. §§ 7604(a)

       102.    The Commonwealth realleges and incorporates by reference the allegations

contained in the above paragraphs.

       103.    Defendants are “persons” within the meaning of Section 304(a)(1) of the Federal

Clean Air Act, 42 U.S.C. § 7604(a)(1).

       104.    The Commonwealth is a “person” within the meaning of Section 304(a) of the

Federal Clean Air Act, 42 U.S.C. § 7604(a).

       105.    Defendants are “persons” within the meaning of 310 C.M.R. §§ 7.00, 7.01(1),

7.09(1).

       106.    The requirements of 310 C.M.R. §§ 7.01(1) and 7.09(1) are included in the

Massachusetts SIP approved by EPA. See https://www.epa.gov/sips-ma/epa-approved-regulations-

massachusetts-sip.

       107.    The requirements of 31 C.M.R. §§ 7.01(1) and 7.09(1) are “emission standard[s] or

limitation[s]” within the meaning of Section 304(a)(1) of the Federal Clean Air Act, 42 U.S.C.

§ 7604(a)(1). See Section 304(f)(4) of the Federal Clean Air Act, 42 U.S.C. § 7604(f)(4).

       108.    The Facility is an “air contamination source” within the meaning of 310 C.M.R.

§ 7.00, as incorporated into the Massachusetts SIP.

       109.    Defendants emitted “air contaminants” into the air, within the meaning of 310

C.M.R. § 7.00, as incorporated into the Massachusetts SIP.

       110.    Defendants’ dust emissions into the ambient air near the Facility, including into the

ambient air in the Brayton Point Residential Neighborhood, caused or contributed to a condition


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“potentially injurious to human or animal life” or that “unreasonably interfere[d] with the

comfortable enjoyment of life and property or the conduct of business.” 310 C.M.R. § 7.00

(definition of “Air Pollution”). Accordingly, Defendants violated 310 C.M.R. § 7.01(1), as

incorporated in the Massachusetts SIP, which is an emission standard or limitation under the

Federal Clean Air Act. See Sections 304(a)(1) and 304(f)(4) of the Federal Clean Air Act, 42

U.S.C. §§ 7604(a)(1), 7604(f)(4).

       111.    By permitting air contaminants to be emitted from the Facility that will cause or

contribute to a condition of air pollution, Defendants violated 310 C.M.R. § 7.09(1), as

incorporated in the Massachusetts SIP, which is an emission standard or limitation under the

Federal Clean Air Act. See Section 304(a)(1) and 304(f)(4) of the Federal Clean Air Act, 42 U.S.C.

§§ 7604(a)(1), 7604(f)(4).

       112.    By allowing the handling, transportation, or storage of any material in a manner that

results or may result in emissions therefrom which cause or contribute to a condition of air

pollution, Defendants violated 310 C.M.R. § 7.09(4), as incorporated in the Massachusetts SIP,

which is an emission standard or limitation under the Federal Clean Air Act. See Sections

304(a)(1) and 304(f)(4) of the Federal Clean Air Act, 42 U.S.C. §§ 7604(a)(1), 7604(f)(4).

       113.    Each of Defendants’ violations of 310 C.M.R. §§ 7.01(1), 7.09(1), and 7.09(4) is a

separate and distinct violation of an emission standard or limitation under the Federal Clean Air

Act for each day on which the violation occurred and/or continued. See Section 304(a) of the

Federal Clean Air Act, 42 U.S.C. § 7604(a).




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                                     THIRD CAUSE OF ACTION
                               Violations of the Massachusetts Air Act:
                        Causing or Contributing to a Condition of Air Pollution
                             G.L. c. 111, § 142A; 310 C.M.R. §§ 7.01; 7.09

       114.    The Commonwealth realleges and incorporates by reference the allegations

contained in the above paragraphs.

       115.    Defendants are “persons” within the meaning of 310 C.M.R. §§ 7.00, 7.01(1),

7.09(1).

       116.    The Facility is an “air contamination source” within the meaning of 310 C.M.R.

§§ 7.00, as incorporated into the Massachusetts SIP.

       117.    By emitting dust into the ambient air near the Facility, including into ambient air in

the Brayton Point Residential Neighborhood, Defendants caused or contributed to a condition

“potentially injurious to human or animal life” or that will “unreasonably interfere with the

comfortable enjoyment of life and property or the conduct of business.” 310 C.M.R. § 7.00

(definition of “Air Pollution”). Accordingly, Defendants violated 310 C.M.R. § 7.01(1).

       118.    By emitting dust from the Facility into the ambient air near the Facility, including

into the ambient air in the Brayton Point Residential Neighborhood, Defendants caused or

contributed to a condition “potentially injurious to human or animal life” or that will “unreasonably

interfere with the comfortable enjoyment of life and property or the conduct of business.” 310

C.M.R. § 7.00 (definition of “Air Pollution”). Accordingly, Defendants have violated 310 C.M.R.

§ 7.09(1).

       119.    By allowing the handling, transportation, or storage of any material in a manner that

results or may result in emissions therefrom which cause or contribute to a condition of air

pollution, Defendants violated 310 C.M.R. § 7.09(4).


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          120.   Each of Defendants’ violations of the Massachusetts Air Act and sections 7.01(1),

7.09(1), and 7.09(4) of the Massachusetts Air Regulations is a separate and distinct violation for

each day on which the violation occurred and/or continued.

                                     FOURTH CAUSE OF ACTION
                                 Violations of the Massachusetts Air Act:
                           Causing or Permitting Unnecessary Emissions of Noise
                                  G.L. c. 111, § 142A; 310 C.M.R. §§ 7.10

          121.   The Commonwealth realleges and incorporates by reference the allegations

contained in the above paragraphs.

          122.   Between August 2019 and March 21, 2022, Defendants owned, leased, or

controlled the Facility.

          123.   Between August 2019 and March 21, 2022, the Facility was a source of sound

within the meaning of 310 C.M.R. § 7.10(1).

          124.   By allowing or permitting unnecessary emissions of sound from the Facility,

Defendants violated the 310 C.M.R. § 7.10(1).

          125.   Each of Defendants’ violations of section 7.10(1) of the Massachusetts Air

Regulations is a separate and distinct violation for each day on which the violation occurred and/or

continued.

                                          RELIEF REQUESTED

          Wherefore, the Commonwealth respectfully requests that this Court grant the following

relief:

          1.     Enjoin Defendants from discharging polluted stormwater without complying with

EPA’s Industrial Stormwater Permit;

          2.     Order Defendants to pay civil penalties of up to:


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                 a. $64,618 per day for each violation of the Federal Clean Water Act pursuant to

                     Sections 309(d) and 505(a) of the Federal Clean Water Act, See 33 U.S.C.

                     §§ 1311(a); 1365(a); 1319(d); 40 C.F.R. § 19.4; 87 Fed. Reg. 1676 (Jan. 6,

                     2023);

                 b. $117,468 per day for each violation of the Federal Clean Air Act pursuant to

                     Sections 113(b) and 304(a) of the Federal Clean Air Act, 42 U.S.C.

                     §§ 7413(b), 7604(a), 40 CFR § 19.4, and 87 Fed. Reg. 1676 (Jan. 6, 2023);

                 c. $25,000 for each day of each violation of the Massachusetts Air Act, G.L.

                     c. 111, § 142A, to the Commonwealth.

        3.      Order Defendants to take appropriate actions to restore the quality of waterways

impaired by their activities;

        4.      Award the Commonwealth’s costs (including reasonable investigative, attorney,

witness, and consultant fees) as authorized by Section 505(d) of the Federal Clean Water Act, 33

U.S.C. § 1365(d), and Section 304(d) of the Federal Clean Air Act, 42 U.S.C. § 7604(d); and

        5.      Award any such other and further relief as this Court may deem appropriate.




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Dated: April 18, 2023               Respectfully submitted,


                                    COMMONWEALTH OF MASSACHUSETTS

                                    By its attorneys,
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            EXHIBIT 1
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             DSN 003                                    DETENTION BASIN




               LEGEND


      STRUCTURE STILL REMAINING
                                                                                                                                                    30    0    15   30        60         120
      FACILITY BOUNDARY
                                                                                                                                                                     ( IN FEET )

      PROPERTY LINE                                                                                                                                 (SHOULD BE PRINTED ON 11 X 17 INCHES)



                                                            REVISION    DATE OF                                                                                          PROJECT       SHEET
                                  DRAWN BY: MN              NUMBER:    REVISION:   BY:   DESCRIPTION:
                                                                                                                                                                         NUMBER:      NUMBER:
                                                                                                                            FACILITY PLAN                                   NA
                                  APPROVED BY: EBS            #1          NA       NA    NA                                                                                            1 OF 1
                                                                                                        BRAYTON POINT, LLC, PATRIOT STEVEDORING & LOGISTICS,
Brayton Point LLC                 DATE: 1/26/2023             #2          NA       NA    NA               LLC, AND EASTERN METALS RECYCLING-TERMINAL, LLC                DRAWING
                                                                                                                                                                          DATE:
                                                                                                                                                                                       FIGURE
                                                                                                                                                                                      NUMBER:
                                                                                                                     SOMERSET, MASSACHUSETTS
                                  SCALE: 1" = 100'            #3          NA       NA    NA                                                                              01/26/2023     1
